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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                            )
                                                     )
       v.                                            )       Case No. 1:14CR230
                                                     )
MUNA OSMAN JAMA,                                     )
                                                     )
and                                                  )
                                                     )
HINDA OSMAN DHIRANE,                                 )
                                                     )
                       Defendants.                   )


 DEFENDANTS’ JOINT MOTION TO SUPPRESS ELECTRONIC SURVEILLANCE
 OBTAINED WITHOUT A WARRANT AND WITHOUT A FINDING OF PROBABLE
   CAUSE OF CRIMINAL CONDUCT, AND FOR DISCLOSURE OF THE FISA
                APPLICATIONS TO DEFENSE COUNSEL

       COMES NOW the defendant, Muna Jama, by counsel, Whitney E.C. Minter, Assistant

Federal Public Defender, and Geremy C. Kamens, Acting Federal Public Defender, and defendant

Hinda Dhirane, by counsel Alan Yamamoto, and hereby move this Court: (1) to suppress all

interceptions made and electronic surveillance and physical searches conducted pursuant to the

Foreign Intelligence Surveillance Act (hereinafter “FISA”), 50 U.S.C. §1801, et seq., and any fruits

thereof, because the FISA surveillance was obtained and conducted in violation of FISA and the First

and Fourth Amendments to the U.S. Constitution, and (2) for disclosure of the underlying

applications for FISA warrants.

       As an initial matter, disclosure of the FISA applications to defense counsel – who possess

the requisite security clearances – is an essential prerequisite to an accurate determination of the

legality of the FISA surveillance and due process in this case. Otherwise the defense will be unable

to adequately represent the defendants, and the Court will not have the benefit of the defense
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perspective on the key issues related to determining whether the FISA surveillance was lawful.

                                  STATEMENT OF FACTS

       Muna Jama and Hinda Dhirane are charged in a twenty-one count Indictment with

Conspiracy to Provide Material Support for Terrorism, in violation of 18 U.S.C. § 2339B (Count

One); and Material Support of a Foreign Terrorist Organization in violation of 18 U.S.C. § 2339B

(Counts Two through Twenty-One).

       Both Ms. Jama and Ms. Dhirane were born in Somalia. The government of Somalia was

overthrown in 1992, and the country descended into a decades-long series of armed conflicts that,

in some form, have continued to the present. Ms. Jama’s family was forced to flee the fighting in

Mogadishu. They traveled to other towns within Somalia, but, within a year, were forced to leave

the country altogether due to the instability. They then moved to Kenya where Ms. Jama was able

to resume her schooling. After living in refugee camps for several years, Ms. Jama was able to

immigrate to the United States with members of her extended family on a refuge visa.

       Much of Somalia continues to suffer from instability and the absence of government control.

Consequently, people in Somalia often seek assistance from their ex-patriot relatives and members

of their community who are now living abroad.

       The charges in this case stem from an allegation that Ms. Jama, Ms. Dhirane, and their co-

defendants, transferred money to individuals in Somalia who were affiliated with al Shabaab, which

was designated on February 26, 2008, as a Foreign Terrorist Organization. The Indictment alleges

that over the course of two years, Ms. Jama and Ms. Dhirane transferred a total of approximately

$4,750.00, usually in $100 to $200 increments, to two individuals in Somalia and Kenya. The

government alleges that these transactions were for the purpose of supporting al Shabaab.


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         Ms. Jama and Ms. Dhirani now move for suppression of any and all evidence obtained

pursuant to the FISA electronic surveillance and physical searches, as well as disclosure of the

underlying applications for FISA warrants.

                                             Argument

         On July 23, 2014, the government filed a notice stating that it intends to offer into

evidence “information obtained or derived from electronic surveillance and physical search

pursuant to [FISA],” and discovery has revealed extensive products of surveillance pursuant to

FISA.1

         As detailed below, the interceptions and e-mails the government obtained pursuant to

FISA should be suppressed because the surveillance and collection were conducted in violation

of FISA, and of the First and Fourth Amendments. However, because defense counsel have not

been provided with the underlying applications for the pertinent FISA warrants, this motion can

only outline the possible bases for suppression for the Court to examine and consider.

         A. Background

         FISA, 50 U.S.C. §1801, et seq., was enacted in 1978 in the wake of domestic surveillance

abuses by federal law enforcement agencies as catalogued in Congressional Committee and

Presidential Commission Reports.2 The statute was designed to provide a codified framework


         1
         The government has not provided notice that it conducted electronic surveillance
pursuant to the 2008 Amendments to FISA. Foreign Intelligence Surveillance Act of 1978
Amendments of 2008, Pub. L. No. 110-261, 122 Stat. 2435 (2008) (“FAA”). To the extent that
the government conducted surveillance pursuant to the FAA, the defendants reserve the right to
challenge the use of the results of any such surveillance.
         2
        See, e.g., FINAL REPORT OF THE SELECT COMMITTEE TO STUDY GOVERNMENTAL
OPERATIONS WITH RESPECT TO INTELLIGENCE ACTIVITIES, S. Rep. No. 94-755, 94th Cong.,        2d
Sess. (1976); Commission on CIA Activities Within the United States, Report to the President

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for foreign intelligence gathering within the confines of the United States in response to civil

liberties concerns and the gap in the law noted by the Supreme Court in United States v. United

States District Court (Keith, J.), 407 U.S. 297, 308-09 (1972).

       Through FISA, Congress attempted to limit the ability of the Executive Branch to engage

in abusive or politically-motivated surveillance. FISA constituted Congress’ attempt to balance

the “competing demands of the President's constitutional powers to gather intelligence deemed

necessary to the security of the Nation, and the requirements of the Fourth Amendment.” H.R.

Rep. No. 95-1283, at 15. FISA’s provisions therefore represented a compromise between civil

libertarians seeking preservation of Fourth Amendment and privacy rights, and law enforcement

agencies citing the need for monitoring agents of a foreign power operating in the United States.

See In re Kevork, 788 F.2d 566, 569 (9th Cir. 1986) (FISA “was enacted in 1978 to establish

procedures for the use of electronic surveillance in gathering foreign intelligence information. . . .

The Act was intended to strike a sound balance between the need for such surveillance and the

protection of civil liberties”) (quotation omitted).

       Important differences exist between the standards for a FISA warrant and that issued

under the Fourth Amendment or Title III of the U.S. Criminal Code. The “probable cause”

required under FISA is merely that the target qualifies as an “agent of a foreign power,” 50

U.S.C. § 1801(b), who will use the electronic device subject to electronic surveillance, or owns,

possesses, uses, or is in the premises to be searched, see 50 U.S.C. §§ 1805(a)(3) & 1824(a)(3),


(1975) (commonly referred to as the “Rockefeller Commission Report”). See also United States
v. Belfield, 692 F.2d 141, 145 (D.C. Cir. 1982) (“[r]esponding to post-Watergate concerns about
the Executive’s use of warrantless electronic surveillance, Congress, with the support of the
Justice Department, acted in 1978 to establish a regularized procedure for use in the foreign
intelligence and counterintelligence field”).

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and not that a crime has been, or is being, committed.

       In that context, FISA establishes procedures for surveillance of foreign intelligence

targets, whereby a federal officer acting through the Attorney General may obtain judicial

approval for conducting electronic surveillance for foreign intelligence purposes. The FISA

statute created a special FISA Court – the Foreign Intelligence Surveillance Court (hereinafter

“FISC”) – to which the Attorney General must apply for orders approving electronic surveillance

of a foreign power, or an agent of a foreign power, for the purpose of obtaining foreign

intelligence information. See 50 U.S.C. §§1802(b), 1803 & 1804.3 In addition, the Attorney

General must review the application and determine whether it satisfies the criteria and

requirements set forth in FISA. § 1804(d); see also § 1805(a)(1).

       Regarding the judicial component of the FISA process, in considering an application for

electronic surveillance pursuant to FISA, the Court should reject the application unless the

application meets the following criteria sufficient to permit the Court to make the requisite

findings under §1805(a):

       (i)     that the application was made by a federal officer and approved by the Attorney

               General;

       (ii)    that there exists probable cause to believe that “the target of the electronic

               surveillance is a foreign power or an agent of a foreign power . . . and . . . each of

               the facilities or places at which the electronic surveillance is directed is being used

               or is about to be used by a foreign power or agent of a foreign power[;]”

       3
          The FISC consists of eleven judges (previously seven prior to amendments adopted as
part of the The USA PATRIOT Act) who individually hear government applications. See 50
U.S.C. § 1803.

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       (iii)   that the proposed minimization procedures meet the definition of minimization

               procedures under §1801(h); and

       (iv)    that the application contains all required statements and certifications.

       Also, in accordance with §1805(a)(4), if a target is a “United States person,” the FISC

must determine whether the “certifications” under §1804(a)(6)(E) – namely that the information

sought is “the type of foreign intelligence information designated,” and the information “cannot

reasonably be obtained by normal investigative techniques” – are “not clearly erroneous.” In

addition, §1805(a)(2)(A) provides “that no United States person may be considered a foreign

power . . . solely upon the basis of activities protected by the first amendment . . .”

       FISA authorizes any “aggrieved person” to move to suppress evidence obtained or

derived from an electronic surveillance on the grounds that “the information was unlawfully

acquired” or “the surveillance was not made in conformity with an order of authorization or

approval.” §§ 1806(e)(1) & (2); 1825(f). FISA defines “aggrieved person” as “a person who is

the target of electronic surveillance or any other person whose communications or activities were

subject to electronic surveillance.” § 1801(k).

       FISA also permits evidence generated in intelligence investigations to be used in criminal

prosecutions. §§ 1806(b) & 1825(c). However, if a significant purpose of the surveillance is not

to obtain foreign intelligence information but rather for the purpose of a criminal investigation,

obtaining that evidence without complying with the Fourth Amendment violates the Constitution.

See § 1804(a)(6)(B).

       2. Challenges to the Admissibility of FISA-Generated Evidence

       Because Ms. Jama and Ms. Dhirani have been notified that their communications and


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property have been the subject of FISA surveillance and searches, they are “aggrieved person[s]”

under § 1806(k). Nonetheless, defense counsel in this case have not been provided with the

FISA applications that resulted in the surveillance and searches at issue.

       While aggrieved criminal defendants can move to suppress FISA-generated evidence,

§1806(f) provides that if the Attorney General files an affidavit that “disclosure or an adversary

hearing would harm the national security of the United States,” the court deciding the motion

must consider the application and order for electronic surveillance in camera to determine

whether the surveillance was conducted lawfully. Accordingly, FISA “requires the judge to

review the FISA materials ex parte in camera in every case” to “decide whether any of those

materials must be disclosed to defense counsel.” United States v. Daoud, 755 F.3d 479, 482 (7th

Cir. 2014).

       The statute also adds that, “[i]n making this determination, the court may disclose to the

aggrieved person, under appropriate security procedures and protective orders, portions of the

application, order, or other materials relating to the surveillance only where such disclosure is

necessary to make an accurate determination of the legality of the surveillance.” 50 U.S.C. §

1806(f). Alternatively, § 1806(g) provides that “[i]f the court determines that the surveillance

was lawfully authorized and conducted, it shall deny the motion of the aggrieved person except

to the extent that due process requires discovery or disclosure.”

       The lack of access to the underlying FISA applications presents a significant impediment

to asserting a challenge to FISA surveillance with particularity. As the Fourth Circuit has

recognized in an analogous context, the burden to be specific with respect to the basis for

suppression must be relaxed when the information supporting the motion is held uniquely by the


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government. Cf. United States v. Moussaoui, 382 F.3d 453, 472 (4th Cir. 2004), citing United

States v. Valenzuela-Bernal, 458 U.S. 858, 870-71, 873 (1982).

       1.      Grounds Upon Which the FISA Applications May Fail to Establish the
               Requisite Probable Cause

               a.      The Elements of Probable Cause Under FISA

       Before authorizing FISA surveillance, the FISA Court must find, inter alia, probable

cause to believe that “the target of the electronic surveillance is a foreign power or an agent of a

foreign power.” §1805(a)(2)(A). The Supreme Court has reiterated the long-standing rule that

criminal probable cause requires “a reasonable ground for belief of guilt,” and that “the belief of

guilt must be particularized with respect to the person to be searched or seized.” Maryland v.

Pringle, 540 U.S. 366, 371 (2003). Under FISA, though, unlike with respect to a traditional

warrant, the probable cause standard is directed not at the target’s alleged commission of a crime,

but at the target’s alleged status as “a foreign power or an agent of a foreign power.”

               b.      The “Agent of a Foreign Power” Requirement

       Consequently, this Court must initially determine, with respect to each application for

FISA electronic surveillance of Ms. Jama and Ms. Dhirane, whether the application established a

reasonable, particularized ground for belief that the defendants qualified as an agent of a foreign

power. §§1805(a)(2)(A) & 1801(b)(2)(C) & (E).

       Here, absent an opportunity to review the applications for any of the surveillance at issue,

defense counsel cannot specify whether the allegations asserting that the defendants were an

“agent of a foreign power” were sufficient to satisfy FISA. Among FISA’s definitions of “agent

of a foreign power,” §1801(b)(2)(C) provides that the term includes: “any person . . . who



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knowingly engages in sabotage or international terrorism, or activities that are in preparation

therefor, for or on behalf of a foreign power.” (Emphasis added).

       If that provision was, in fact, the basis for the FISA applications, the statute requires the

presentation of evidence establishing probable cause that the defendant or the relevant third-party

target knowingly engaged in some type of international terrorism, and that the defendants knew

that their activities were assisting “international terrorism”.

               c.         The Nature and Origins of the Information In the FISA Applications

       Again, unlike the case with traditional warrants, non-disclosure of the FISA applications

denies the defense the ability to contest the accuracy or reliability of the underlying information

used to satisfy FISA’s version of probable cause. As a result, absent such disclosure the

defendants can request only that the Court review the FISA applications cognizant of certain

factors and principles.

                          i.    The Limits of “Raw Intelligence”

       For example, foreign intelligence information is often in the form of “raw intelligence,”

and not vetted in the manner typical of information law enforcement agents supply in ordinary

warrant applications, i.e., that the information emanated from a source that was reliable and/or

had a verifiable track record, or was independently corroborated.

       Such raw intelligence is often not attributed to any specific source, and its genesis can be

multiple-level hearsay, rumor, surmise, and rank speculation. Also, the motivation driving

sources of raw intelligence to impart information is usually not nearly as transparent as in

conventional criminal justice circumstances. As a result, the dangers of deception and

disinformation are significantly enhanced.


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       Those limitations on the accuracy and reliability of raw intelligence are aggravated when

the potential location – Somalia, a nation afflicted by chaos, and to which the U.S. government

has very limited formal access – and context – often military and susceptible to the “fog of war”

– reduce the possibility of meaningful corroboration or verification.

                       ii.     Illegitimate and/or Illegal Sources of Information

       There is also the danger that the information in FISA applications, whether or not

attributed to a particular source, was generated by illegal means such as warrantless wiretapping

or constitutionally infirm FISA amendments that have yet to be challenged in criminal cases. In

that context, the government should be compelled to disclose whether information in the FISA

applications, or which was used to obtain information that appears in the applications, or was

used in the investigation in this case in any fashion, originated from such illegitimate means. Cf.

Gelbard v. United States, 408 U.S. 41 (1972) (in prosecution for contempt for refusal to testify,

grand jury witness entitled to invoke as a defense statutory bar against use of evidence obtained

via illegal wiretap as basis for questions in grand jury).

                               (A)     The Warrantless Terrorist Surveillance Program

       For example, the government should be required to disclose whether any of the

defendants’ communications were intercepted pursuant to the Terrorist Surveillance Program

(hereinafter “TSP”), a warrantless wiretapping program instituted in 2001. But cf. United States

v. Abu Ali, 528 F.3d 210, 257 (4th Cir. 2008) (affirming district court’s conclusion that

disclosure of TSP was not warranted based on ex parte review of government justification). The

government should further be compelled to disclose whether any communications intercepted

pursuant to the TSP contributed to the FISA applications or the search warrant applications, or to


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the investigation of this case in any manner.

                              (B)     Surveillance Pursuant to the FISA Amendments Act

       The Court should also examine whether any portion of the FISA electronic surveillance

was requested and conducted pursuant to the authority provided in 50 U.S.C. §1881a, enacted in

2008 as part of the FISA Amendments Act of 2008, Pub. L. No. 110-261 (2008), or whether any

information in the FISA applications was the product of surveillance authorized under the FAA.

       Congress amended FISA, effective Summer 2008, to allow for the collection of some

electronic communications – ostensibly international in character, but which could include a

domestic component (i.e., one party within the United States) – without a traditional FISA

warrant, but rather on advance court approval of targeting methods rather than designation of a

particular target based on individualized probable cause. Those provisions, codified at 50 U.S.C.

§1881a, raise constitutional issues different from those implicated by the pre-existing FISA

provisions. The government should not have any legitimate interest in obscuring the authority

pursuant to which it conducted FISA surveillance herein; indeed, refusal by the government to

so disclose would deny the defendants a fair trial by depriving them of any meaningful

opportunity to contest the acquisition and admissibility of evidence that may have been obtained

unlawfully.    Accordingly, the Court should examine the nature, genesis, and provenance of the

information in the FISA application, and compel the government to disclose whether any such

information was the product of warrantless electronic surveillance (either via the TSP or any

other program), or of such surveillance authorized pursuant to the FAA (§1881a).

               d.      FISA’s Prohibition On Basing Probable Cause Solely On a
                       “United States Person’s” Protected First Amendment Activity



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       The statute includes an additional restriction for electronic surveillance of a “United

States person,” as it prohibits finding probable cause for such a target based solely upon First

Amendment activities. In making that probable cause determination, the statute directs “[t]hat no

United States person may be considered a foreign power or an agent of a foreign power solely

upon the basis of activities protected by the first amendment . . .” §1805(a)(2)(A).

       Accordingly, if the target participated in First Amendment activities such as expressing

support, urging others to express support, gathering information, distributing information, raising

money for political causes, or donating money for political causes, these activities cannot serve

as a basis for probable cause for a FISA warrant. The statute reaches only material support

coordinated with or under the direction of a designated foreign terrorist organization. See Holder

v. Humanitarian Law Project, 561 U.S. 1, 31-32 (2010) (“Independent advocacy that might be

viewed as promoting the group’s legitimacy is not covered.”).

       2.      The FISA Applications May Contain Intentional or Reckless Falsehoods
               or Omissions In Contravention of Franks v. Delaware, 438 U.S. 154 (1978)

       The Supreme Court’s landmark decision in Franks v. Delaware, 438 U.S. 154 (1978),

established the circumstances under which the target of a search may obtain an evidentiary

hearing concerning the veracity of the information set forth in a search warrant affidavit. As the

Court in Franks instructed, “where the defendant makes a substantial preliminary showing that a

false statement knowingly and intentionally, or with reckless disregard for the truth, was included

by the affiant in the warrant affidavit, and if the allegedly false statements necessary to the

finding of probable cause, the Fourth Amendment requires that a hearing be held at the

defendant's request.” Id. at 156-57.



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       The Franks opinion also sets a similar standard for suppression following the evidentiary

hearing:

               in the event that at that hearing the allegation of perjury or reckless
               disregard is established by the defendant by a preponderance of the
               evidence, and, with the affidavit’s false material set to one side, the
               affidavit’s remaining content is insufficient to establish probable
               cause, the search warrant must be voided and the fruits of the
               search excluded to the same extent as if probable cause was
               lacking on the face of the affidavit.

Id., at 156; see United States v. Blackmon, 273 F.3d 1204, 1208-10 (9th Cir. 2001) (applying

Franks to Title III wiretap application); United States v. Meling, 47 F.3d 1546, 1553-56 (9th Cir.

1995) (same); United States v. Duggan, 743 F.2d 59, 77 n.6 (2d Cir. 1984) (suggesting that

Franks applies to FISA applications under Fourth and Fifth Amendments). See also United

States v. Hammond. 351 F.3d 765, 770-71 (6th Cir. 2003) (applying Franks principles).

       The Franks principles apply to omissions as well as to false statements. See, e.g., United

States v. Carpenter, 360 F.3d 591, 596-97 (6th Cir. 2004); United States v. Atkin, 107 F.3d

1213, 1216-17 (6th Cir. 1997). Omissions will trigger suppression under Franks if they are

deliberate or reckless, and if the search warrant affidavit, with omitted material added, would not

have established probable cause.

       As noted above, without the opportunity to review the applications, the defendants cannot

point to or identify any specific false statements or material omissions in those applications. See

Daoud, 755 F.3d at 493 (Rovner, J., concurring) (explaining difficulty of reconciling Franks with

denying access to FISA warrant applications, and concluding that “[w]ithout access to the FISA

application, it is doubtful that a defendant could ever make a preliminary showing sufficient to

trigger a Franks hearing.”). Although that lack of access prevents defense counsel from making


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the showing that Franks ordinarily requires, counsel notes that the possibility that the

government has submitted FISA applications with intentionally or recklessly false statements or

material omissions is hardly speculative.

       For instance, in 2002, in In re All Matters Submitted to the Foreign Intelligence

Surveillance Court, 218 F. Supp. 2d 611, 620-21 (FISC), rev’d on other grounds sub nom., In re

Sealed Case, 310 F.3d 717 (FISCR 2002),4 the FISC reported that beginning in March 2000, the

Department of Justice (hereinafter “DoJ”) had come “forward to confess error in some 75 FISA

applications related to major terrorist attacks directed against the United States. The errors

related to misstatements and omissions of material facts,” including:

       !       “75 FISA applications related to major terrorist attacks directed against the United

               States” contained “misstatements and omissions of material facts.” 218 F. Supp.

               2d at 620-21;

       !       the government’s failure to apprise the FISC of the existence and/or status of

               criminal investigations of the target(s) of FISA surveillance; and

       !       improper contacts between criminal and intelligence investigators with respect to

               certain FISA applications. Id.

       According to the FISC, “[i]n March of 2001, the government reported similar

misstatements in another series of FISA applications . . .” Id. at 621. Nor were those problems

isolated or resolved by those revelations. A report issued March 8, 2006 by the DoJ Inspector

General stated that the FBI found apparent violations of its own wiretapping and other

       4
          “FISCR” refers to the Foreign Intelligence Court of Review, which is the appellate
court for the FISC, and is comprised of three federal Circuit judges. The FISCR’s 2002 decision
in In re Sealed Case marked its first case since enactment of FISA in 1978.

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intelligence-gathering procedures more than 100 times in the preceding two years, and problems

appear to have grown more frequent in some crucial respects. See Report to Congress on

Implementation of Section 1001 of the USA PATRIOT Act, March 8, 2006.

       The report characterized some violations as “significant,” including wiretaps that were

much broader in scope than authorized by a court (“over-collection”), and others that continued

for weeks and months longer than authorized (“overruns”). Id. at 24-25. FISA-related

overcollection violations constituted 69% of the reported violations in 2005, an increase from

48% in 2004. See DoJ IG Report, at 29. The total percentage of FISA-related violations rose

from 71% to 78% from 2004 to 2005, id. at 29, although the amount of time “over-collection”

and “overruns” were permitted to continue before the violations were recognized or corrected

decreased from 2004 to 2005. Id. at 25.

       Thus, a Franks hearing, and disclosure of the underlying FISA materials, are necessary in

order to permit the defendants the opportunity to prove that the affiants before the FISC

intentionally or recklessly made materially false statements and omitted material information

from the FISA applications.

       3.      The Collection of Foreign Intelligence Information May Not Be a Significant
               Purpose of the FISA Surveillance

       If the investigation, and purpose of the FISA surveillance, was criminal in nature, all of

the evidence derived from the FISA surveillance of the defendants should be suppressed because

the applications failed to adhere to FISA’s requirements, or in the alternative to seek appropriate

authority under Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

99 2510-2520 (1982), rather than under FISA.



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         4.     The FISA Applications May Not Have Included the Required Certifications

         The Court should review the FISA applications to determine whether they contain all

certifications required by §1804(a)(6). As the Ninth Circuit has declared in the Title III context,

“[t]he procedural steps provided in the Act require ‘strict adherence,’” and “utmost scrutiny must

be exercised to determine whether wiretap orders conform to [the statutory requirement].”

Blackmon, 273 F.3d at 1207, quoting United States v. Kalustian, 529 F.2d 585, 588-9 (9th Cir.

1975).

         In addition, the Court should examine two certifications with particular care – (i) that the

information sought is “the type of foreign intelligence information designated,” and (ii) that the

information “cannot reasonably be obtained by normal investigative techniques.” See

§1804(a)(6)(E). Particularly if the target of the wiretap is a “United States person” (such as the

defendants), these two certifications must be measured by the “clearly erroneous” standard. See

§1805(a)(4).

         As the Ninth Circuit has observed in relation to the similar provision in Title III, 18

U.S.C. § 2518(1)(e), “the necessity requirement ‘exists in order to limit the use of wiretaps,

which are highly intrusive.’” Blackmon, 273 F.3d at 1207, quoting United States v. Bennett, 219

F.3d 1117, 1121 (9th Cir. 2000) (internal quotation omitted). The necessity requirement

“ensure[s] that wiretapping is not resorted to in situations where traditional investigative

techniques would suffice to expose the [information sought].” Id.

         The Court should also carefully examine the dates, in sequence, of all FISA orders in this

case to determine whether there were any lapses of time during which wiretapping continued.

The statutory scheme contemplates that when a FISA order expires and the government wishes to


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continue the wiretap, the expiring order must be replaced by an extension order, which, in turn,

may be obtained only on the basis of a proper FISA application. See §1805(d)(1) & (2).

       FISA surveillance that continues past the expiration date of the FISA order that originally

authorized it is just as unauthorized as a wiretap that is initiated without any FISA order at all.

Should the Court order the government to disclose the FISA orders in this case to defense

counsel, the defense will be able to assist the Court in matching up all of the FISA orders by date.

       5.      The FISA Applications, and the FISA Surveillance, May Not Have
               Contained or Implemented the Requisite Minimization Procedures

       In order to obtain a valid FISA order, the government must include in its application a

“statement of the proposed minimization procedures.” §1804(a)(4). The purpose of these

minimization procedures is to (i) ensure that surveillance is reasonably designed to minimize the

acquisition and retention of private information regarding people who are being wiretapped; (ii)

prevent dissemination of non-foreign intelligence information; and (iii) prevent the disclosure,

use, or retention of information for longer than seventy-two hours unless a longer period is

approved by Court order. §1801(h).

       FISA surveillance involves particularly intrusive electronic surveillance. Indeed, it

typically occurs on a continuance 24-hour basis, as the Title III principle of “pertinence” is not

applicable. Instead, all conversations are captured, with minimization occurring later and in

other forms. Accordingly, minimization in the FISA context is critically important.

       One court has reasoned that in FISA the privacy rights of individuals are ensured not

through mandatory disclosure of FISA applications, but

               through its provisions for in-depth oversight of FISA surveillance
               by all three branches of government and by a statutory scheme that


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                 to a large degree centers on an expanded conception of
                 minimization that differs from that which governs law-enforcement
                 surveillance.

United States v. Belfield, 692 F.2d 141, 148 & n. 34 (D.C. Cir. 1982) (footnote omitted), quoting

Schwartz, Oversight of Minimization Compliance Under the Foreign Intelligence Surveillance

Act: How the Watchdogs are Doing Their Job, 12 RUTGERS L.J. 405, 408 (1981) (emphasis

added).

          Here, the government has provided an incredibly large amount of products of

surveillance. It is possible that the FISA application did not contain adequate minimization

procedures or, if it did, that those procedures were not followed. In order to determine whether

there were adequate minimization procedures, and that the government complied therewith,

defense counsel must be provided with the FISA applications, orders, and related materials.

C.        The Underlying FISA Applications and Other Materials Should Be Disclosed to
          Defense Counsel to Enable Them to Assist the Court, and On Due Process Grounds

          1.     Disclosure of FISA Materials to the Defense Pursuant to §1806(f)

          According to FISA’s legislative history, disclosure may be “necessary” under §1806(f)

“where the court’s initial review of the application, order, and fruits of the surveillance indicates

that the question of legality may be complicated by factors such as ‘indications of possible

misrepresentation of fact, vague identification of the persons to be surveilled, or surveillance

records which include a significant amount of nonforeign intelligence information, calling into

question compliance with the minimization standards contained in the order.’” United States v.

Belfield, 692 F.2d 141, 147 (D.C. Cir. 1982) [quoting S. Rep. No. 701, 95th Cong., 2d Sess. 64

(1979)]; see, e.g., United States v. Ott, 827 F.2d 473, 476 (9th Cir. 1987) (same); United States



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v. Duggan, 743 F.2d 59, 78 (2d Cir. 1984) (same).

         There are ample justifications for disclosure of the FISA applications in this case which

would permit defense counsel an opportunity to demonstrate that the requisite probable cause

with respect to the issue of knowledge was lacking, that with respect to the defendants, “United

States person[s],” the alleged “activities” fell within the protection of the First Amendment and,

thus, could not be used as a basis for probable cause in any event, and that the information in the

applications was either unreliable or obtained via illegal means. Disclosure would also afford

defense counsel an opportunity to identify procedural irregularities.

         In addition, counsel for the defendants possess the requisite level of security clearance for

this case, and have received Top Secret-SCI clearances in other cases. The Court therefore could

issue an appropriate Protective Order that would provide elaborate protection for classified

information, and which would permit such materials to be disclosed to defense counsel but not to

the defendants. See Classified Information Procedures Act (hereinafter “CIPA”), 18 U.S.C. App.

III, at §3.

         Thus, while no court in the history of FISA has ordered disclosure of FISA applications,

orders, or related materials, see, e.g., In re Grand Jury Proceedings, 347 F.3d 197, 203 (7th Cir.

2003) (citing cases); United States v. Sattar, 2003 U.S. Dist. LEXIS 16164, at *19 (S.D.N.Y.

Sept. 15, 2003) (same), disclosure should occur in this case. Indeed, the existence of §1806(f) is

an unambiguous declaration that Congress intended for courts to grant disclosure in appropriate

cases. If §1806(f) is to be rendered meaningful at all, and not be rendered superfluous and

entirely inert, it should apply in this case.

         2.     Disclosure of FISA Materials to the Defense Pursuant to §1806(g)


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       Even if the Court were to decline to find that disclosure of FISA-related materials to the

defense is appropriate under §1806(f), the defense would still be entitled to disclosure of the

FISA applications, orders, and related materials under §1806(g), which expressly incorporates

the Fifth Amendment Due Process Clause, and provides that “[i]f the court determines that the

surveillance was lawfully authorized and conducted, it shall deny the motion of the aggrieved

person except to the extent that due process requires discovery or disclosure.” 50 U.S.C.

§1806(g) (emphasis added). See also United States v. Spanjol, 720 F. Supp. 55, 57 (E.D. Pa.

1989) (“[u]nder FISA, defendants are permitted discovery of materials only to the extent required

by due process. That has been interpreted as requiring production of materials mandated by

[Brady], essentially exculpatory materials”).

       3.      Ex Parte Proceedings To Address this Motion Are Antithetical to the Adversary
               System of Justice

       Lack of disclosure would render the proceedings on the validity of the FISA electronic

surveillance ex parte, as the challenges on the defendants’s behalf would be made without access

to documents and information essential to the determination of his motion. Such proceedings are

antithetical to the adversary system that is the hallmark of American criminal justice.

       As an initial matter, the adversary nature of our system of criminal justice warrants

participation by the defense in the actual conversation regarding the legality of surveillance used

to prosecute the defendants. Indeed, “Article III of the Constitution limits federal-court

jurisdiction to ‘Cases’ and ‘Controversies.’ Those two words confine ‘the business of federal

courts to questions presented in an adversary context and in a form historically viewed as capable

of resolution through the judicial process.’” Massachusetts v. E.P.A., 549 U.S. 497, 516 (2007)



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(quoting Flast v. Cohen, 392 U.S. 83, 95 (1968)). Although proceedings to obtain judicial

authorization for searches and surveillance by law enforcement are an exception to this rule,

challenges to such proceedings and the resulting searches and surveillance are not.

       Moreover, as the Supreme Court has recognized, “‘[f]airness can rarely be obtained by

secret, one-sided determination of facts decisive of rights. . . . No better instrument has been

devised for arriving at truth than to give a person in jeopardy of serious loss notice of the case

against him and opportunity to meet it.’” United States v. James Daniel Good Real Property, et.

al., 510 U.S. 43, at 55 (1993) (quoting Joint Anti-Fascist Refugee Committee v. McGrath, 341

U.S. 123, 170-72 (1951) (Frankfurter, J., concurring). See also United States v. Madori, 419

F.3d 159, 171 (2d Cir. 2005), citing United States v. Arroyo-Angulo, 580 F.2d at 1145 (closed

proceedings “are fraught with the potential of abuse and, absent compelling necessity, must be

avoided”) (other citations omitted).5

       Indeed, “[f]or more than a century the central meaning of procedural due process has been

clear: ‘Parties whose rights are to be affected are entitled to be heard; and in order that they may

enjoy that right they must first be notified.’ It is equally fundamental that the right to notice and

an opportunity to be heard ‘must be granted at a meaningful time and in a meaningful manner.’”

Fuentes v. Shevin, 407 U.S. 67, 80 (1972) (quoting Baldwin v. Hale, 1 Wall. 223, 233, 17 L.Ed.

531 (1864)).

       In United States v. Abuhamra, 389 F.3d 309 (2d Cir. 2004), the Second Circuit



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           Conversely, as Judge Learned Hand said in United States v. Coplon, 185 F.2d 629, 638
(2d Cir. 1950), cert. denied, 342 U.S. 920 (1952), “[f]ew weapons in the arsenal of freedom are
more useful than the power to compel a government to disclose the evidence on which is seeks to
forfeit the liberty of its citizens.”

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reemphasized the importance of open, adversary proceedings, declaring that “[p]articularly where

liberty is at stake, due process demands that the individual and the government each be afforded

the opportunity not only to advance their respective positions but to correct or contradict

arguments or evidence offered by the other.” 389 F.3d at 322-23 (citing McGrath, 341 U.S. at

171 n. 17 (Frankfurter, J., concurring)), which noted that “the duty lying upon every one who

decides anything to act in good faith and fairly listen to both sides . . . always giving a fair

opportunity to those who are parties in the controversy for correcting or contradicting any

relevant statement prejudicial to their view”) (citation and internal quotation marks omitted).

        As the Ninth Circuit observed in the closely analogous context of a secret evidence case,

“‘[o]ne would be hard pressed to design a procedure more likely to result in erroneous

deprivations.’ . . . [T]he very foundation of the adversary process assumes that use of

undisclosed information will violate due process because of the risk of error.” American-Arab

Anti-Discrimination Committee v. Reno, 70 F.3d 1045, 1069 (9th Cir. 1995) (quoting District

Court); see, e.g., id. at 1070 (noting “enormous risk of error” in use of secret evidence).

        Similarly, in the Fourth Amendment context, including in relationship to electronic

surveillance, the Supreme Court has twice rejected the use of ex parte proceedings on grounds

that apply equally here. In Alderman v. United States, 394 U.S. 165 (1969), the Court addressed

the procedures to be followed in determining whether government eavesdropping in violation of

the Fourth Amendment contributed to the prosecution case against the defendants. The Court

rejected the government's suggestion that the district court make that determination in camera

and/or ex parte.

        The Court observed that


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               [a]n apparently innocent phrase, a chance remark, a reference to
               what appears to be a neutral person or event, the identity of a caller
               or the individual on the other end of a telephone, or even the
               manner of speaking or using words may have special significance
               to one who knows the more intimate facts of an accused's life.
               And yet that information may be wholly colorless and devoid of
               meaning to one less well acquainted with all relevant
               circumstances.

Id. at 182.

        In ordering disclosure of improperly recorded conversations, the Court declared:

               [a]dversary proceedings will not magically eliminate all error, but
               they will substantially reduce its incidence by guarding against the
               possibility that the trial judge, through lack of time or unfamiliarity
               with the information contained in and suggested by the materials,
               will be unable to provide the scrutiny that the Fourth Amendment
               exclusionary rule demands.

Id. at 184.

        Likewise, the Court held in Franks v. Delaware, 438 U.S. 154 (1978), that a defendant,

upon a preliminary showing of an intentional or reckless material falsehood in an affidavit

underlying a search warrant, must be permitted to attack the veracity of that affidavit. The Court

rested its decision in significant part on the inherent inadequacies of the ex parte nature of the

procedure for issuing a search warrant, and the contrasting enhanced value of adversarial

proceedings:

               the hearing before the magistrate [when the warrant is issued] not
               always will suffice to discourage lawless or reckless misconduct.
               The pre-search proceeding is necessarily ex parte, since the subject
               of the search cannot be tipped off to the application for a warrant
               lest he destroy or remove evidence. The usual reliance of our legal
               system on adversary proceedings itself should be an indication that
               an ex parte inquiry is likely to be less vigorous. The magistrate has
               no acquaintance with the information that may contradict the good
               faith and reasonable basis of the affiant's allegations. The pre-


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                search proceeding will frequently be marked by haste, because of
                the understandable desire to act before the evidence disappears;
                this urgency will not always permit the magistrate to make an
                independent examination of the affiant or other witnesses.

438 U.S. at 169.

        The same considerations that the Supreme Court found compelling in Alderman and

Franks militate against ex parte procedures in the FISA context. Indeed, the lack of any

authentic adversary proceedings in FISA ligitation more than likely accounts for the

government’s perfect record in defending FISA and FISA-generated evidence. After all, denying

an adversary access to the facts constitutes an advantage as powerful and insurmountable as

exists in litigation.

        As the FISC itself has acknowledged, for example, without adversarial proceedings,

systematic executive branch misconduct – including submission of FISA applications with

“erroneous statements” and “omissions of material facts” – went entirely undetected by the courts

until the FISC directed that the Department of Justice review FISA applications and submit a

report to the FISC. See In re All Matters Submitted to the Foreign Intelligence Surveillance

Court, 218 F. Supp.2d at 620-21, rev’d on other grounds, 310 F.3d 717 (FISCR 2002).

        However, as discussed above, the complete deference now required of the courts toward

the executive with respect to FISA renders any such “in-depth oversight” and “expanded

conception of minimization” entirely illusory. As a result, §§1806(f) & (g), and the disclosure

they authorize, assume significantly greater meaning and importance in evaluating the validity of

FISA applications. Also, as noted above, the defendants’ counsel possess the requisite security

clearance to view the material, thereby further eliminating any justification for non-disclosure, or



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any claim that such limited, safe disclosure presents any danger to national security.

       Moreover, the Court’s review in camera is not a substitute for defense counsel’s

participation. As the Supreme Court recognized in Alderman, “[i]n our adversary system, it is

enough for judges to judge. The determination of what may be useful to the defense can properly

and effectively be made only by an advocate.” 394 U.S. at 184; see also Franks v. Delaware,

438 U.S. 154, 169 (1978) (permitting adversarial proceeding on showing of intentional falsehood

in warrant affidavit because the magistrate who approves a warrant ex parte “has no acquaintance

with the information that may contradict the good faith and reasonable basis of the affiant’s

allegations”).

       Accordingly, either under §1806(f), §1806(g), and/or the Due Process clause, disclosure

of the FISA materials is authorized and appropriate in this case.


                                           Conclusion

       For the foregoing reasons, Ms. Jama and Ms. Dhirane respectfully requeste that the Court

suppress all information and evidence obtained pursuant to the FISA in this case.




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                                         Respectfully submitted,
                                         MUNA OSMAN JAMA
                                         By Counsel,
                                         Geremy C. Kamens
                                         Acting Federal Public Defender

                                         By:          /s/
                                         Geremy C. Kamens
                                         Va. Bar #41596
                                         Acting Federal Public Defender
                                         Whitney E.C. Minter
                                         Va. Bar # 47193
                                         Assistant Federal Public Defender
                                         Attorneys for Muna Jama
                                         1650 King Street, Suite 500
                                         Alexandria, Virginia 22314
                                         (703) 600-0855 (telephone)
                                         (703) 600-0880 (facsimile)
                                         Whitney_Minter@fd.org (email)




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 11, 2015, I will electronically file the foregoing

pleading with the Clerk of the Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

James Gillis, Esq.
Assistant United States Attorney
2100 Jamieson Avenue
Alexandria, Virginia 22314
(703) 299-3700
james.p.gillis@usdoj.gov


          Pursuant to the Electronic Case Filing Policies and Procedures, a courtesy copy of the

foregoing pleading will be delivered to Chambers within one business day of the electronic

filing.

                                                        By:          /s/
                                                        Geremy C. Kamens
                                                        Va. Bar # 41596
                                                        Acting Federal Public Defender
                                                        Whitney E.C. Minter
                                                        Va. Bar # 47193
                                                        Assistant Federal Public Defender
                                                        Attorneys for Muna Jama
                                                        1650 King Street, Suite 500
                                                        Alexandria, Virginia 22314
                                                        (703) 600-0855 (telephone)
                                                        (703) 600-0880 (facsimile)
                                                        Whitney_Minter@fd.org (email)




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